Case 1:15-cr-00637-KAM Document 792 Filed 11/29/23 Page 1 of 1 PageID #: 25872
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  November 29, 2023


  The Honorable Kiyo Matsumoto
  United States District Judge
  United States District Court for the Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

  Re:    United States v. Greebel, 15-CR-0637 (KAM)

  Dear Judge Matsumoto:

  With the consent of the United States, I write to respectfully request an extension of time,
  from December 1, 2023 until February 2, 2024, for the parties to submit their replies to the
  Mandate of the U.S. Court of Appeals Summary Order (the “Replies”). See Docket Entry
  dated September 25, 2023.

  As represented in their previous extension requests (ECF Nos. 789, 790, 791), the parties
  have been engaging in good-faith efforts to resolve this matter without the need for further
  litigation, or at least to limit the scope of the issues. However, the parties require additional
  time to complete these efforts. This request is therefore being made to allow the parties the
  additional time necessary to resolve this matter on mutually agreeable terms.

  This is the fourth request by either party for an extension of the deadline to submit their
  Replies. See ECF Nos. 789, 790, 791. The Court previously approved the three prior
  requests which collectively extended the parties deadline from July 14, 2023 until December
  1, 2023. See Docket Entries dated July 13, 2023, August 15, 2023, September 25, 2023.

  Respectfully,

  /s/ Marc Aaron Takagaki

  Marc Aaron Takagaki

  Cc: All Counsel of Record (via ECF)




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